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   ~AO 2458 (CASD) (Rev. 4/14)    Judgment in a Criminal Case
              Sheet 1



                                             UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                    : 5 P;l         .
                                                                                                                                                                 i, 'J


                   UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                       v.                                           (For Offenses Committed On or After Noveml:i~r 1, 1987)           7t      Oi'PUTV

                 DENINE CHRISTINE MURPHY (02)                                       Case Number: 12CR2497-AJB-02
                                                                                    John C. Lemon
                                                                                    Defendant's Attorney
   REGISTRATION NO. 36174298

   o
   o pleaded guilty to count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
   THE DEFENDANT:

   1.81 was found guilty on count(s)_On_e..:,_S_ix..:,_S_e_ve_n_&_E_i:;:.gh_t_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea ofnot guilty.
         Accordingly, the defendant is adjudged guilty of such count(s}, which involve the following offense(s}:
                                                                                                                                           Count
   Title & Section                          Nature of Offense                                                                             Number(s)
    26:7212(a)                           Corrupt Interference with Administration of the Internal Revenue Laws                                 1
    18:287                               False Claims                                                                                         6-8




       The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
o   The defendant has been found not guilty on count(s)
                                                           -------------------------------
o   Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is              0 areD dismissed on the motion of the United States.
18I Assessment: $400.00
    ($100.00 as to each count)


181 Fine waived as to each count                   o      Forfeiture pursuant to order filed
                                                                                                  --------                    , included herein.
      IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                                                                                           12CR2497-AJB-02
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AO 2458 (CASD) (Rev. 4fl4) Judgment in a Criminal Case
             Sheet 2 -- Probation

DEFENDANT: DENINE CHRISTINE MURPHY (02)
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CASE NUMBER: 12CR2497-AJB-02
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:
 THREE (3) YEARS, as to each Count 1,6, 7 & 8, to run Concurrent.

The defendant shall not commit another federal, state, or local crime.
For offonses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applieable.)
o      The defendant shall participate in an approved program for domestic violence. (Cheek, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                      STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.



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       AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                  Sheet 3 Special Conditions
                                                                                                         Judgment-Page   --L. of ____
                                                                                                                                    5 __
       DEFENDANT: DENINE CHRISTINE MURPHY (02)                                                      D
       CASE NUMBER: 12CR2497-AJB-02




                                             SPECIAL CONDITIONS OF SUPERVISION
I8l Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
I8l Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
I8l Provide complete disclosure of personal and business financial records to the probation officer as requested.
I8l Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within          days.
D Complete           hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
D Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

I8l Notify the Collections Unit, United States Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, or entity, including a trust, partnership or corporation until the fme or restitution is paid in full.

    Notify the Collections Unit, United States Attorney's Office, before transferring any interest in property owned, directly or indirectly,
    including any interest held or owned under any other name, or entity, including a trust, partnership or corporation.




                                                                                                                                   12CR2497-AJB-02
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AO 2458     (Rev. 2010) Judgment in a Criminal Case
            Sheet 3 - Continued 2 Supervised Release
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DEFENDANT: DENINE CHRISTINE MURPHY (02)
CASE NUMBER: 12CR2497-AJB-02

                                 SPECIAL CONDITIONS OF SUPERVISION

 Be monitored for a period of 12 months, with the location monitoring technology at the discretion of the
 probation officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of
 participation in the location monitoring program, as directed by the court and/or the probation officer. In addition to
 other court-imposed conditions of release, the offender's movement in the community shall be restricted as specified
 below:

 o        You are restricted to your residence every day from _~_ _ _ _ to _ _ _ _ _ _. (Curfew)


 o        You are restricted to your residence every day from _
          probation officer. (Curfew)
                                                                  . _____ to _ _ __                    as directed by the



 o        You are restricted to your residence at all times except for employment; education; religious services;
          medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
          obligations; or other activities as pre-approved by the probation officer. (Home Detention)

          You are restricted to your residence at all times except for medication necessities and court appearances or
          other activities specifically approved by the court. (Home Incarceration)

  Be monitored while under supervision with location monitoring technology at the discretion ofthe
  probation officer, which shall be utilized for the purposes of verifying compliance with any court-imposed
  condition of supervision. The offender shall pay all or part ofthe costs of location monitoring based upon
  their ability to pay as directed by the court and/or probation officer.


  The Court will allow the defendant to attend religious services during the period of Home Incarceration as directed
  by the Court and/or Probation Officer.
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                       Judgment -   Page _ _5__ of       5
 DEFENDANT: DENINE CHRISTINE MURPHY (02)                                                        D
 CASE NUMBER: 12CR2497-AJB-02

                                                            RESTITUTION

The defendant shall pay restitution in the amount of                 $178,246.00
                                                             -------------------- unto the United States of America.
          Payable through the Clerk, USDC in favor of I.R.S.



          This sum shall be paid __ immediately.
                                  1C as follows:
            Pay restitution in the amount of to be determined through the Clerk, U. S. District Court. Payment of restitution shall be
            forthwith. These payment schedules do not foreclose the United States from exercising all legal actions, remedies, and
            process available to it to collect the restitution judgment.


            Restitution is to be paid to the following victims and distribution is to be made on a pro rata basis.

            Victim Amount Address: IRS To be determined Internal Revenue Service-RACS
                                   Attn: Mail Stop 6261, Restitution
                                   333 W. Pershing Ave.
                                   Kansas City, MO 64108

            Until restitution has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's Office
            of any change in the defendant's mailing or residence address, no later than thirty (30) days after the change occurs.




      The Court has determined that the defendant         does not     have the ability to pay interest. It is ordered that:
    )(        The interest requirement is waived.

              The interest is modified as follows:




                                                                                                      12CR2497-AJB-02
